                                                                               Case 4:05-cr-00334-SBA          Document 171        Filed 09/12/06       Page 1 of 1



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                                                                         5                                 IN THE UNITED STATES DISTRICT COURT
                                                                         6                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                         7
                                                                         8    UNITED STATES OF AMERICA,                              No. CR 05-334 SBA
                                                                         9                   Plaintiff ,                             ORDER
                                                                         10     v.                                                   [Docket No. 168]
                                                                         11
United States District Court




                                                                              HENRI BERGER,
                               For the Northern District of California




                                                                         12                  Defendant.
                                                                                                                          /
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                                                                         14          On September 8, 2006, Defendant Henri Berger filed a Motion for Substitution of Attorney,

                                                                         15   alleging a breakdown in communication between himself and his appointed counsel, Elena Condes.

                                                                         16   Defendant asks to substitute retained counsel, Ralph Ayala. Trial is set to begin in this matter on
                                                                         17   October 4, 2006.
                                                                         18          IT IS HEREBY ORDERED THAT Defendant Henri Berger's Motion for Substitution of
                                                                         19   Attorney is set for hearing on September 19, 2006 at 11:00 a.m.
                                                                         20          IT IS FURTHER ORDERED THAT Defendant, Ms. Condes, and Mr. Ayala shall personally
                                                                         21   appear at the hearing.
                                                                         22          IT IS SO ORDERED.
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                                                                              Dated: 9/12/06
                                                                         24                                                        SAUNDRA BROWN ARMSTRONG
                                                                                                                                   United States District Judge
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